           Case 1:06-cr-00313-DAD Document 66 Filed 09/22/06 Page 1 of 1


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 5                        IN THE UNITED STATES DISTRICT COURT FOR THE
 6                                EASTERN DISTRICT OF CALIFORNIA
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 8
     UNITED STATES OF AMERICA,                   )   1:06-CR-313 AWI
 9                                               )
                           Plaintiff,            )
10                                               )   ORDER SHORTENING TIME FOR
                                                 )   GOVERNMENT’S MOTION TO DESTROY
11                   v.                          )   EVIDENCE PURSUANT TO
                                                 )   NOTICE OF DESTRUCTION OF DRUGS
12                                               )   EXCEEDING “THRESHOLD AMOUNT”
     YORN YIM, et. al.,                          )   (21 U.S.C. § 881(f)(2) and 28 C.F.R. § 50.21
13                                               )
                           Defendants.           )
14                                               )
                                                 )
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             The Government noticed its intent to destroy the marijuana evidence seized in this case from
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     a marijuana garden in Yuba City on September 19, 2006. The Defendant Savath Prak filed an ex
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     parte motion for an order to prevent such destruction. Given the government’s concern for
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     prolonged retention of the evidence and the dangers alleged to be inherent therein,
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             IT IS HEREBY ORDERED that the defendant’s motion for an order preventing destruction
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     of the fresh marijuana seized in this shall be heard on October 10, 2006 at the time of 9:00 a.m. in
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     Courtroom 2.
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             IT IS HEREBY FURTHER ORDERED that co-defendants may file and serve related
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     motions by 4:00 p.m. September 29, 2006 and that the government may file and serve any response
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     by 4:00 p.m. October 4, 2006.
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     IT IS SO ORDERED.
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     Dated:     September 22, 2006                     /s/ Anthony W. Ishii
28   0m8i78                                      UNITED STATES DISTRICT JUDGE


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